980 F.2d 1190w
    61 USLW 2372, 20 Media L. Rep. 2127
    ARKANSAS AFL-CIO, and the Committee Against Amendment 2, Petitioners,v.FEDERAL COMMUNICATIONS COMMISSION and United States ofAmerica, Respondents,Radio-Television News Directors Association;  KARK-TV;National Association of Broadcasters;  CBS, Inc.,Intervenors.
    No. 92-1115.
    United States Court of Appeals,Eighth Circuit.
    Submitted June 11, 1992.Decided Dec. 2, 1992.
    NOTE: THE COURT HAS WITHDRAWN THIS OPINION
    